ease 3:13-cr-00623-S DIH§HFI§§KT£|M§§H;§§§§@ 1 of 1 PagelD 52

DALLAS DIVISION

 

HON. IRMA CARRILLO RAMIREZ,Presiding

 

 

 

 

DEPUTY CLERK Marie castaneda CoURT REPoRTER/TAPE FTR
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iNTERPRETER CoURr TIME: l I\l l nl .

A.M. P.M. 2:00 DATE; Dacember 18. 2018

 

 

 

CR.NO. 3=18-cr-623-s DEFT No. (01)

M(Fl WU‘ ,AUsA

UNITED STATES OF AMERICA

V.

mCHARD HALL UM § @)MS (le) []

Defendant's Name Counsel for Deft. Apptd-(A), Retd-(R), FPD-(F)

C»O’>OOOCO?!»OO

MNMEN_T_
...... Defendam sWoRN. , /,
arr. Arraignment l:l rearr. Rearraignment - Held on count(s) l d LU
of the § count(s) mdictment l.:l Information ij Superseding Indictment l:l Superseding Information.

 

 

 

 

 

 

 

l:l ...... New Sentencing Guidelines (NSG) offense committed on or after (l l/l/87).
pl. Deft enters a plea of ngpl. (not guilty) l:l gpl. (guilty) l:l nolopl. (nolo)
l:i ...... Consent to proceed before U.S. l\/Iagistrate Judge on misdemeanor case.
l:l ...... Waiver of Jury Trial
l:l inndi. Waiver of lndictment, filed.
l:l ...... Plea Agreement accepted l:l Court defers acceptance of Plea Agreement.
ij plag. Plea Agreement filed (see agreement for details). l:l ...... No Plea Agreement.
l:l ...... Plea Agreement included with Factual Resume.
l:l facres. Factual Resume filed.
[:.l sen. Sentencing set at a.m./p.m.
jytrl. Trial set for TBA at a.m,/p.m.

Pretrial motions due: ___. Discovery motions/Government Responses due:
m ...... Order for PSI, Disclosure Date and Setting Sentencing entered.
l___l vasi. PSI waiver filed. ij PSI due: . l:l Presentence Referral Form to:
l:l 0.(bnd.) Defts bond ij set l:l reduced to $ l:l Cash l:l Surety l:l lO% ij PR
ij owarr. Deft failed to appear, bench Warrant to issue.
l:l . . . . . Bond l:l continued El forfeited d
lg/.. . Deft Custody/Detention continued. U‘S- DISTRICT COURT
l] loc.(LC) Deft REMANDED to custody NORTHER"\H§:RICT OF TEXAS
OTHER PROCEEDINGS:

…

 

 

 

CLERK, U.S. DISTRIC COURT

By
D@P“W fry

 

 

 

 

 

 

 

